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 6                      IN THE UNITED STATES DISTRICT COURT
 7                            FOR THE DISTRICT OF ARIZONA
 8 Charles Crouch,                              No. CV17-0397-PHX-DGC
 9                              Plaintiff,
                                                ORDER DISMISSING CASE WITH
10 v.                                           PREJUDICE
11 Arizona CVS Stores, L.L.C., an
   Arizona limited liability company,
12
                               Defendant.
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14          Upon review of the parties’ Stipulation for Dismissal with Prejudice. Doc. 29.
15          IT IS ORDERED that the parties’ stipulation of dismissal with prejudice
16   (Doc. 29) is granted. This case is hereby dismissed with prejudice, each party to bear
17   their own costs and attorneys’ fees.
18          Dated this 22nd day of September, 2017.
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